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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES                                   *


vs.                                             *   Case No.: 22-15 APM


THOMAS E. CALDWELL                              *


        *      *      *      *      *       *       *      *      *       *       *
      MOTION IN LIMINE TO ALLOW INTO EVIDENCE CERTAIN INCONSISTENT
                  STATEMENTS MADE BY THE GOVERNMENT

        COMES NOW the Defendant, Thomas E. Caldwell, by and through his counsel,

David W. Fischer, Esq., and provides this Honorable Court with an outline of anticipated

defense arguments and supporting evidence, the purpose of said disclosure to allow the Court

ample opportunity to review supporting case law in preparation of the Pretrial Conference

scheduled in the above-captioned matter for September 14, 2022.

      A. Background

        Caldwell and his co-defendants face multiple charges, most notably seditious

conspiracy (18 U.S.C. § 2384) and conspiracy to obstruct an official proceeding (18 U.S.C. §

1512, §372). Caldwell was the first “conspiracy” defendant arrested in the January 6, 2021

(hereinafter “J6”) riot at the Capitol, but was quickly joined as co-defendants with Jessica

Watkins and Donovan Crowl. In the ensuing weeks and months post-J6, multiple co-

defendants were added in a series of six superseding indictments wherein Caldwell was the

lead defendant. Eventually, the Government obtained a successor, “split-off” indictment

naming Oath Keepers founder and president Stewart Rhodes as the leader of a seditious

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conspiracy that included Caldwell and others. (ECF No. 1). The Court has set a trial date for

Rhodes, Watkins, Caldwell, Kelly Meggs, and Kenneth Harrelson for September 27, 2022.

   B. Defense Theory of the Case

       Caldwell intends to introduce substantial evidence and arguments that the government

wrongly accused him (and his co-defendants) of multiple criminal acts in the aftermath of

January 6. Additionally, Caldwell believes that the evidence outlined below demonstrates

that the government has “changed its story” in relation to the events of J6 as they pertain to

Caldwell and others. To support his defense, Caldwell intends to introduce copies

(appropriately redacted, of course) of government sentencing memoranda, charging

documents, indictments, transcripts of hearings, and other materials wherein government

counsel and law enforcement agents made sweeping and demonstrably false allegations

against Caldwell and other defendants. Additionally, Caldwell seeks to introduce portions of

a 60 Minutes interview conducted by the former acting U.S. Attorney for the District of

Columbia, Michael Sherwin, and may call Mr. Sherwin as a witness.

   C. What happened to Caldwell’s “plan” to “attack” the Capitol and arrest Members of
      Congress?
       The government, in the legal equivalent of the “Jedi mind-trick,” desires that its prior

inaccurate and incendiary claims against Caldwell be forgotten. See (ECF No. 251 at 11-13)

(suggesting that the government does not have to prove a specific plan to attack the Capitol

and stop the certification vote: “Caldwell misunderstands the government’s case.”). These

claims, however, are central to the defense theory of the case: That the government, in its

zeal to make quick arrests prior to the inauguration of Joe Biden on January 20, 2021 and


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with scant evidence, wrongly accused Caldwell of plotting and coordinating a forcible attack

on the U.S. Capitol Building, which included a plan to arrest Members of Congress.

       A quick review of the government’s filings and other materials verifies that for

several weeks after initiating their case against Caldwell, the government incorrectly claimed

that Caldwell and others schemed to develop a D-Day-like, military-style plan to specifically

attack the U.S. Capitol Building and effectuate the arrest of Members of Congress. While

making these outlandish claims, the acting U.S. Attorney for the District of Columbia

declared: “We do have evidence, it’s in the public record, where individual militia groups

[including the Oath Keepers] did have a plan—we don’t know what the full plan is—to come

to DC, organize and breach the Capitol in some manner[.]” (60 Minutes interview with U.S.

Attorney Michael Sherwin, March 21, 2021) (emphasis added). The current Rhodes

indictment, tellingly, makes no such claim of a premeditated plan to attack the Capitol.

   D. The Government’s allegations circa early 2021

       What follows is a list of the government’s more colorful accusations against Caldwell

and others:

   1. Initial Criminal Complaint--In an affidavit signed by F.B.I. Special Agent Michael
      Palian on January 17, 2021, the government alleged that “Caldwell was involved in
      planning and coordinating the January 6 breach of the U.S. Capitol” and that
      “Caldwell appears to have a leadership role within the Oath Keepers.” (5:21-mj-
      00004-JCH, ECF 1-2) (See Exh. A).

   2. Amended criminal complaint—On January 19, 2021, Special Agent Palian alleged
      that “CALDWELL planned with DONOVAN CROWL, JESSICA WATKINS, and
      others known and unknown, to forcibly storm the U.S. Capitol” and that
      “CALDWELL is believed to have a leadership role with the Oath Keepers.” (¶¶13-
      14). Further, the agent alleged “that not only did CALDWELL, CROWL, WATKINS

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   and others conspire to forcibly storm the U.S. Capitol on January 6, 2021—they
   communicated with one another in advance of the incursion and planned their attack.”
   (¶16). Additionally, the government alleged that “[c]ommunications . . . from
   CALDWELL and CROWL’s Facebook accounts leading up to January 6, 2021, show
   that CALDWELL, CROWL, and WATKINS planned and organized Oath Keeper
   activities to challenge the election results[.]” (Case 1:21-cr-00028-APM, ECF 1-1)
   (See Exh. B).

3. Original U.S. v. Caldwell indictment--On January 27, 2021 the grand jury alleged that
   Caldwell “planned with DONOVAN CROWL, JESSICA WATKINS, and others
   known and unknown to forcibly enter the Capitol on January 6, 2021, and to disrupt
   the Congressional proceedings occurring that day.” (¶13). The “purpose of the
   conspiracy,” according to this indictment, “was to stop, delay, and hinder Congress’s
   certification of the Electoral College vote.” (¶18). To accomplish this purpose, the
   indictment alleged that Caldwell, Crowl, and Watkins “plann[ed] an operation to
   interfere with the official Congressional proceeding on January 6, 2021 (the “January
   6 operation”).” (¶19a). The indictment clearly suggested that Watkins and others
   intended to arrest Members of Congress, noting that an unknown male “directed”
   Watkins over Zello as follows: “You are executing a citizen’s arrest. Arrest this
   assembly, we have probable cause for acts of treason, election fraud.” (¶44a-b).
   (Case 1:21-cr-00028-APM, ECF No. 3) (See Exh. C).

4. Superseding indictment filed February 19, 2021--The government added six
   additional defendants in their superseding indictment, alleging that “CALDWELL,
   CROWL, WATKINS, SANDRA PARKER, BENNIE PARKER, YOUNG, STEELE,
   KELLY MEGGS, and CONNIE MEGGS, planned with each other . . . to forcibly
   enter the Capitol on January 6, 2021, and to [obstruct the Electoral College
   certification].” (¶22). The conspirators, according to the superseding indictment,
   “carried out the conspiracy” by, inter alia, “entering the Capitol complex in executing
   the January 6 operation.” (¶26j). “While at the Capitol building” on J6, Watkins and
   others “communicated and coordinated their actions on Zello,” which the superseding
   indictment again suggested was aimed at arresting Members of Congress. (¶74a-b).
   (Caldwell, ECF No. 27) (See Exh. D).

5. The Government’s initial detention memo regarding Jessica Watkins—In seeking
   detention for Watkins, the Government claimed that Watkins “exhibited a single-
   minded devotion to obstruct through violence” the Electoral College certification.
   (ECF No. 15 at 1). Unlike other J6 protestors, the government claimed that “Watkins
   had trained and plotted” for storming the Capitol. Id. “Moments after the Vice-

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   President . . . Senators, and staff” were evacuated from the Capitol, the government
   asserted the “plan” discussed by Watkins and co-conspirators on Zello was obvious:
   “[T]hat plan became chillingly clear when an unknown male instructed over [Zello],
   ‘You are executing a citizen’s arrest. Arrest this assembly, we have probable cause
   for acts of treason, election fraud.” Id. at 2. According to the government,
   “Watkins’s premeditated and coordinated conduct created an unprecedented
   danger[.]” Id. at 3. A subheading in the government’s memo stated bluntly:
   “Watkins Planned and Coordinated with Oath Keeper members to Attack the Capitol
   on January 6, 2021.” Id. at 4. Moreover, “Watkins and her co-conspirators formed a
   subset of the most extreme insurgents that plotted then tried to execute a sophisticated
   plan to forcibly stop the results of a Presidential Election from taking place.” Id. at
   15. The Government also alleged that Watkins was “a key figure who put into motion
   the violence that overwhelmed the Capitol.” Id. Zello recordings, according to the
   Government, “memorialize[d] her experience of breaching the Capitol as well as her
   plan to ‘execut[e] a citizen’s arrest . . . [of] this assembly . . . for acts of treason,
   election fraud.’” Id. at 16. (See Exh. E).

6. The government’s reply memo on detention for Watkins—The government alleged
   that the “evidence remains irrefutable that the [Watkins] recruited others to join for,
   planned, and participated in a coordinated effort to, as she put it, ‘force entry into the
   Captiol Builidng[.]” (ECF No. 30 at 1). The government characterized Watkins’
   “well-chronicled actions” as “an effort to forcibly stop the certification[.]” Id. The
   government, notably, alleged that Watkins conduct was “calculated to influence or
   affect the conduct of government,” i.e., “a federal crime of terrorism.” Id. at 2.
   Indeed, the government claimed, in making its “terrorism” argument, that “the
   purpose of the aforementioned ‘plan’ that the defendant stated they were ‘sticking to’
   in the Zello app channel became startlingly clear when the command over that same
   Zello app channel was made that, ‘You are executing [a] citizen’s arrest. Arrest this
   assembly, we have probably cause for acts of treason, election fraud.’” Id. at 3. (See
   Exh. F).

7. The government’s detention memo regarding Caldwell—The government alleged that
   Caldwell helped “to organize and coordinate an attack on the U.S. Capitol . . . by a
   team of militia members . . . for the express purpose of stopping the U.S. Congress’s
   certification of the results of the 2020 U.S. presidential election.” (ECF No. 18 at 1).
   The “plan became chillingly clear” that the purpose of Caldwell’s conspiracy was to
   “execute[] [a] citizen’s arrest.” Id at 3. The government emphasized Caldwell’s
   “detailed and organized . . . planning” for the J6 “operation and Capitol assault[.]” Id
   at 17. “Specifically, Caldwell helped organize a tactical unit of trained fighters that

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       stormed and breached the Capitol on January 6, 2021.” Id. “Far from an ancillary
       player who became swept up in the moment,” the government wrote, “Caldwell was a
       key figure who put into motion the violence that overwhelmed the Capitol.” Id. The
       government suggested that Caldwell, a former Navy “commander,” was the leader of
       the entire J6 breach of the Capitol: “Like any coach on the sideline, Caldwell was
       just as responsible as his players on the field for achieving what he viewed as victory
       that day.” Id. at 18. Additionally, the government claimed that Caldwell “organized
       insurrectionists to occupy the United States Capitol.” Id. at 20. Finally, “Caldwell
       was far from leading the blind . . . [but] was likely familiar with the art of operational
       tactics and used that skillset to the detriment of [American citizens].” Id. at 19. (See
       Exh. G).

   8. Transcript of February 12, 2021 Caldwell detention hearing—The government
      alleged that what Caldwell was trying to “stop the certification of the results of the
      election and the peaceful transfer of power.” (Tr. at 20). “Mr. Caldwell coordinated
      with members of the Oath Keepers like Ms. Watkins and Mr. Crowl in planning this
      attack.” (Tr. at 26). The events at the Capitol, according to the government, “were a
      planned and very well-coordinated attack on the United States Capitol to interrupt
      [the Electoral College certification].” (Tr. at 52). “Mr. Caldwell . . . kn[e]w that that
      was the plan and actively assisted in making that plan.” (Tr. at 52).

   9. 60 Minutes interview—On March 23, 2021, acting U.S. Attorney Michael Sherwin
      gave a lengthy interview on the news program 60 Minutes wherein he stated: “We do
      have evidence, it’s in the public record, where individual militia groups [including the
      Oath Keepers] did have a plan—we don’t know what the full plan is—to come to DC,
      organize and breach the Capitol in some manner[.]” (60 Minutes interview with U.S.
      Attorney Michael Sherwin, March 23, 2021).
To summarize, the government repeatedly claimed that Caldwell and others engaged in

sophisticated, long-term planning for a “January 6 operation.” The government

unmistakably claimed that the “January 6 operation” was aimed specifically at stopping the

Electoral College certification by “forcibly” entering the Capitol. Additionally, the

government claimed that Caldwell, Watkins, and others were “key” figures in planning and

coordinating the “January 6 operation.” According to the government, moreover, the

“January 6 operation” specifically included a pre-planned “attack” on the U.S. Capitol

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Building in preparation for which Caldwell “organized a tactical unit of trained fighters that

stormed and breached the Capitol[.]” The government further alleged that Caldwell

“organized insurrectionists to occupy the United States Capitol.” According to the

government, Caldwell was the “coach” of the “players” who breached the Capitol. Finally,

the government unmistakably claimed that Caldwell, Watkins and others, as a goal of the

“January 6 operation,” were utilizing Zello to execute a “citizen’s arrest” upon Members of

Congress.

    E. The Government’s prior statements are inconsistent

       The government recently answered Caldwell’s repeated “challenges” to “provide

evidence of the defendant’s specific plan to attack the Capitol” by claiming that “Caldwell

misunderstands the government’s case.” (ECF No. 251 at 11). Citing paper-thin evidence of

a pre-meditated plan to attack the Capitol,1 the government nonetheless suggests that it need

not prove that Caldwell and others conspired to specifically breach the Capitol with the intent

of stopping the Electoral College certification. Id. at 11. Respectfully, Caldwell does not

“misunderstand the government’s case”; rather, Caldwell recognizes that the Government




1
  Interestingly, in setting out its “evidence” that Caldwell and others engaged in a lengthy, pre-
meditated plan to attack the Capitol, stop the certification, and arrest Members of Congress, the
government cited a video made by a Serbian national, circulated by co-defendant Rhodes, which
recommended that Americans engage in “civil disobedience,” “swarming the streets and
confronting opponents,” “gathering in our capital,” and “storming the Parliament.” This video,
however, was circulated by Rhodes approximately 40 days before the J6 Trump protest in
Washington, D.C. was even announced. A handful of out-of-context and inapposite social media
postings round out the government’s extensive “evidence” of a pre-meditated plot by Caldwell
and others to attack the Capitol pursuant to a military-style plan, stop the certification, and arrest
Members of Congress. ECF No. 251 at 11-13.
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has quietly backed off of multiple inaccurate and incendiary claims it made against Caldwell

and others.

       The government’s retreat to a vague indictment that charges that Caldwell and others

plotted to “stop the lawful transfer of power” is entirely inconsistent with their previous,

detailed allegations. Twenty months ago, Caldwell, according to the government, was

training up tactical fighters as an Oath Keeper “commander,” engaged in substantial planning

to launch a military-style attack on the Capitol Building, and intended to arrest Members of

Congress. The “plan” was not some vague whim to stop the transfer of presidential power

but, rather, a specific “January 6 operation” plotted and planned for weeks to specifically

attack the U.S. Capitol. Caldwell’s position is clear: reliable investigations are supposed to

start with general allegations which, through proper investigation, become more specific as

evidence is developed against suspects. The opposite happened in the instant investigation.

   F. The Government’s Inconsistent Theory and Inaccurate Claims are Admissible as
      Statements of a Party Opponent.
       Federal Rule of Evidence 801(d)(2) sets forth guidelines for admitting out-of-court

statements of party opponents:

       (d) Statements That Are Not Hearsay. A statement that meets the following
       conditions is not hearsay:
       ...
       (2) An Opposing Party’s Statement. The statement is offered against an
       opposing party and:
       (A) was made by the party in an individual or representative capacity;
       (B) is one the party manifested that it adopted or believed to be true;
       (C) was made by a person whom the party authorized to make a statement on
       the subject; [or]
       (D) was made by the party’s agent or employee on a matter within the scope of
       that relationship and while it existed[.]
       ....


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Fed. R. Evid. 801(d)(2). To determine whether a statement should be admitted, the Court

must first determine whether the government is an "opposing party" for purposes of Rule

801(d)(2). The D.C. Circuit has answered this question: "[T]he Federal Rules clearly

contemplate that the federal government is a party-opponent of the defendant in criminal

cases." United States v. Morgan, 581 F.2d 933, 937 n.10 (D.C. Cir. 1978). See also United

States v. Warren, 42 F.3d 647, 655-56 (D.C. Cir. 1994) (admitting statements of police

officers under Rule 801(d)(2)); Morgan, 581 F.2d at 937 n.11 (admitting an out-of-court

statement by a police informant); U.S. v. American Tel. & Tel. Co.. 498 F. Supp. 353, 358

(D.D.C. 1980) (holding that statements made by government agents outside the DOJ are also

those of a party opponent). The “Defendant is correct that prior statements by the

government may be considered admissions of a party-opponent, and so may sometimes be

admitted into evidence under Rule 801(d)(2)(B) of the Federal Rules of Evidence.” United

States v. Bailey, 1998 U.S. App. LEXIS 9760, at *3-4 (D.C. Cir. 1998). See also United

States v. Marshall, 935 F.2d 1298, 1300 (D.C. Cir. 1991) ("There is some authority

supporting [the defendant's] position that a trial court must admit extrinsic evidence of prior

inconsistent statements regarding material issues."). Government counsel can bind the

government with their in-court statements, see United States v. Salerno, 937 F.2d 797, 810-

12 (2d Cir. 1991), and filings. See United States v. GAF Corp., 928 F.2d 1253, 1258-62 (2d

Cir. 1991).

       Rule 801 “specifically provide[s] that certain categories of out-of-court statements

offered to show the truth of the matter asserted shall not be regarded as hearsay.” Morgan,




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581 F.2d at 937. Inconsistent factual representations and arguments can be used by party

opponents in criminal trials:

       A party thus cannot advance one version of the facts in its pleadings, conclude
       that its interests would be better served by a different version, and amend its
       pleadings to incorporate that version, safe in the belief that the trier of fact will
       never learn of the change in stories.
United States v. McKeon, 738 F.2d 26, 31-32 (2d Cir. 1984). Citing prior precedent, the

McKeon court further noted that amended and withdrawn pleadings are admissible against a

party opponent:

       A further objection was based upon the fact that the complaint had been
       superseded by an amended pleading. This objection is likewise
       unavailing. When a pleading is amended or withdrawn, the superseded portion
       ceases to be a conclusive judicial admission; but it still remains as a statement
       once seriously made by an authorized agent, and as such it is competent
       evidence of the facts stated, though controvertible, like any other extra-judicial
       admission made by a party or his agent.

United States v. McKeon, 738 F.2d 26, 31-32 (2d Cir. 1984) (quoting Kunglig

Jarnvagsstyrelsen v. Dexter & Carpenter, Inc., 32 F.2d 195, 198 (2d Cir. 1929)) (emphasis

added). The Second Circuit subsequently expanded McKeon, which involved defense

attorney statements, to prosecutorial statements. See Salerno, 937 F.2d at 811-12.

Additionally, it is well-settled that “opinions” of party opponents are also admissible in

evidence against government prosecutors: “While the government claims that the statement

should be excluded because it was not ‘evidence,’ opinions are freely admissible when made

by a party-opponent.” United States v. Bakshinian, 65 F. Supp. 2d 1104, 1109 (C.D. Cal.

1999). See also Washington Public Power v. Pittsburgh-Des Moines Corp., 876 F.2d 690,

696-97 (9th Cir. 1989); Owens v. Atchison, Topeka & Santa Fe R. Co., 393 F.2d 77, 79 (5th

Cir. 1968) ("It is well settled that the opinion rule does not apply to a party's admissions.").
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       In addition to inconsistent facts and opinions, inconsistent theories floated by the

government are also admissible as statements of a party opponent. In Salerno, co-defendant

Auletta was convicted of violating the mail fraud statute, 18 U.S.C. § 1341. The trial court

rejected the defendant’s request to introduce into evidence the opening and closing

arguments that the government made at the trial of related defendants wherein the

government presented an inconsistent theory of the defendant’s culpability:

       Apparently, the government has taken the same evidentiary clay that they used
       in the commission case and, for purposes of this trial, resculpted Auletta from
       a "puppet on a string" to a bid-rigger. The government was free to choose, for
       tactical or other reasons, not to join Auletta in the commission case, and to
       postpone his prosecution until they brought the club case. Even so, the jury is
       at least entitled to know that the government at one time believed, and stated,
       that its proof established something different from what it currently claims.
Salerno, 937 F.2d at 812 (emphasis added). See also GAF Corp., 928 F.2d at 1260-61

(“Confidence in the justice system cannot be affirmed if any party is free, wholly without

explanation, to make a fundamental change in its version of the facts between trials, and then

conceal this change from the final trier of the facts.”).

   G. The government’s inconsistent claims are relevant as to the “reliability of the
      investigation.”


       The introduction into evidence of the multiple inaccurate facts, opinions, and theories

of the government is highly relevant in the instant case. Most notably, the government’s

inconsistent claims and statements are relevant as to the competency, integrity, and reliability

of the investigation into Caldwell and his co-defendants. In Kyles v. Whitley, the Supreme

Court determined that undisclosed incriminating statements of a cooperating source named

“Beanie” were Brady material as they were relevant to, inter alia, “the reliability of the

investigation”:

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       By demonstrating the detectives' knowledge of Beanie's affirmatively self-
       incriminating statements, the defense could have laid the foundation for a
       vigorous argument that the police had been guilty of negligence. . . . Since the
       police admittedly never treated Beanie as a suspect, the defense could thus
       have used his statements to throw the reliability of the investigation into doubt
       and to sully the credibility of Detective Dillman, who testified that Beanie was
       never a suspect[.]

Kyles v. Whitley, 514 U.S. 419, 447 (1995) (emphasis added). See also United States v.

Quinn, 537 F. Supp. 2d 99, 115 (D.D.C. 2008) (In finding a Brady violation, Judge Bates

observed: “The impeachment of Douglas would highlight a theme Quinn could have

pursued had he been timely provided with the information regarding Tatum: attacking the

integrity of the government's investigation.”); Bagcho, 151 F. Supp. 3d at 69 (“Impeachment

evidence can be damaging when it allows defense counsel to attack the reliability of an

investigation.”); Bowen v. Maynard, 799 F.2d 593, 613 (10th Cir. 1986) (“A common trial

tactic of defense lawyers is to discredit the caliber of the investigation or the decision to

charge the defendant[.]”).

       The multiple inaccurate, unfounded and dubious claims outlined above in this motion

cast significant doubt as to the competency, integrity, and reliability of law enforcement’s

investigation into Caldwell and his co-defendants. The statements outlined above were not

“slips of the tongue,” inadvertent misstatements, or quickly-corrected mistakes. The

government, for weeks, alleged in court filings, indictments and hearings that Caldwell and

others premeditated, since early November 2020, a specific “plan” to specifically “attack”

the U.S. Capitol Building for the specific purpose of “arresting” Members of Congress and to

specifically stop the Electoral College certification. The jury to be seated in the instant case




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must be made aware of the government’s prior claims and representations to ensure a fair

trial for the defendants.

       The defense theory outlined above is particularly important to Caldwell’s defense.

The government has already conceded that multiple factual claims it made against Caldwell

are incorrect. The government incorrectly alleged that Caldwell was not only a member of

the Oath Keepers, but also held a leadership role in that organization. Caldwell, moreover,

did not enter the U.S. Capitol Building on J6 as initially alleged by the government. And

Caldwell, who has no prior criminal record, was not a fugitive from justice as alleged by the

government at Caldwell’s initial detention hearing in the Western District of Virginia.

       That the government wrongly accused Caldwell of engaging for weeks in a

sophisticated plot to train up a “tactical band of fighters” and to be their “coach” to guide

them in a plan to mount a military-style attack on the Capitol, which included a plan to arrest

Members of Congress that was specifically aimed at stopping the Electoral College

certification, is entirely inconsistent with the government’s more vaguely-styled theory of its

case today.

   H. Conclusion

       Caldwell respectfully requests that the Court admit into evidence, with appropriate

redactions, the aforementioned charging documents, affidavits, indictments, sentencing

memoranda, and 60 Minutes video clip and other similar evidence of inconsistent claims

outlined above in this motion.




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                                     Respectfully Submitted,



                                           /s/_____________________
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                              CERTFICATE OF SERVICE


       I HEREBY CERTIFY that on this 9th day of September, 2022, a copy of the
foregoing Motion In Limine To Allow into Evidence Certain Inconsistent Statements Made
By the Government was electronically filed with the Clerk of the United States District Court
using CM/ECF, with a notice of said filing to the following:



Counsel for the Government:                Office of the United States Attorney
                                           555 4th Street, NW
                                           Washington, DC 20001


                                                       /s/_____________________
                                                  David W. Fischer, Esq.




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